                   UNITED STATES DISTRICT COURT
                     DISTRICT OF CONNECTICUT

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LAGUERRE LENSENDRO,              :
                                 :
          Plaintiff,             :
v.                               :    Civil No. 3:25-cv-128 (AWT)
                                 :
TRANSUNION LLC,                  :
                                 :
          Defendant.             :
                                 :
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            RULING GRANTING MOTION FOR LEAVE TO PROCEED
               IN FORMA PAUPERIS AND DISMISSING CASE

     Pro se plaintiff Laguerre Lensendro (“Lensendro”) brings a

three-count complaint against defendant TransUnion LLC

(“TransUnion”), claiming violations of the Fair Credit Reporting

Act (the “FCRA”), codified as amended at 15 U.S.C. §§ 1681 et

seq.. The plaintiff has also filed a motion to proceed in forma

pauperis.

     For the reasons stated below, the court is granting the

motion to proceed in forma pauperis and dismissing the complaint

pursuant to 28 U.S.C. § 1915(e)(2).

I.   MOTION TO PROCEED IN FORMA PAUPERIS

     Section 1915 of Title 28 of the United States Code

provides, in pertinent part:

     [A]ny court of the United States may authorize the
     commencement, prosecution or defense of any suit, action or
     proceeding, civil or criminal, or appeal therein, without
     prepayment of fees or security therefor, by a person who


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      submits an affidavit that includes a statement of all
      assets such [person] possesses [and] that the person is
      unable to pay such fees or give security therefor.

28 U.S.C. § 1915(a)(1). The court determines whether an

applicant is indigent by reviewing the applicant’s assets and

expenses as stated on a declaration submitted with the motion to

proceed in forma pauperis. Here, the plaintiff, through his

financial affidavit, has demonstrated to the court an inability

to pay for the commencement of this action. Accordingly, the

court is granting the plaintiff’s motion to proceed in forma

pauperis.

      The same statute that authorizes the court to grant in

forma pauperis status to an indigent plaintiff also provides

that the court “shall dismiss the case at any time if [it]

determines that . . . the action . . . (i) is frivolous or

malicious; (ii) fails to state a claim on which relief may be

granted; or (iii) seeks monetary relief against a defendant who

is immune from such relief.” 28 U.S.C. § 1915(e)(2).

      Therefore, the court must review the complaint in this case

to determine whether this action is frivolous or malicious,

fails to state a claim on which relief may be granted, or seeks

monetary relief against a defendant who is immune from such

relief.

II.   FACTUAL ALLEGATIONS IN THE COMPLAINT

      The court must accept as true the factual allegations in


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the Amended Complaint for purposes of testing its sufficiency.

See Monsky v. Moraghan, 127 F.3d 243, 244 (2d Cir. 1997). It

contains the following allegations.

     The complaint alleges that the plaintiff is a “consumer”

and that TransUnion is a “consumer reporting agenc[y]” within

the meaning of the FCRA. Compl. (ECF No. 1) ¶¶ 2, 6. See 15

U.S.C. § 1681a(c) (“‘consumer’ means an individual”); 15 U.S.C.

§ 1681a(f) (“‘consumer reporting agency’ means any person which,

for monetary fees, dues, or on a cooperative nonprofit basis,

regularly engages in whole or in part in the practice of

assembling or evaluating consumer credit information or other

information on consumers for the purpose of furnishing consumer

reports to third parties . . . ”).

     “On December 5, 2023,” the plaintiff “sent a written

dispute to TransUnion highlighting specific discrepancies within

multiple accounts” listed in the plaintiff’s consumer report,

which was assembled by TransUnion. Compl. ¶¶ 3, 12. The

plaintiff’s “dispute letter identified and numbered each

discrepancy, which pertained to TransUnion’s reporting.” Id. ¶

13. Exhibit 1 appended to the complaint is the communication

from the plaintiff to TransUnion disputing the information in

his consumer report. See id. at 16-31 (Pl. Ex. 1).1 The


     1 The page numbers to which this ruling cites for documents
that have been electronically filed refer to the page numbers in


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plaintiff’s communication detailed over 400 perceived

discrepancies and inaccuracies, which can be categorized in the

following manner.

    First, the plaintiff stated that several of the notations

in the report, which associated the plaintiff with one

particular address, one particular employer, and several

telephone numbers, were inaccurate, and he informed TransUnion

that he should not be associated with them. See id. at 16 (“I do

not, nor have I ever lived at 133 Tressor blvd apt 12C Stamford

CT,06901-3148”; “I do not have the phone # 475-489-0731”; “I do

not work at MCdonalds”).

    Second, the plaintiff stated that certain credit account

numbers and the social security number listed in his report were

inaccurate because the report displayed those numbers only

partially and used asterisks to represent the remainder of those

numbers. See, e.g., id. at 16, 19, 25, 29, 31 (“The account

number is incomplete and inaccurate, as it is missing the last 4

digits.”)

    Third, the plaintiff stated that the dollar amounts listed




the header of the documents and not to the page numbers in the
original documents, if any. Here, the filing containing the
complaint also contains all exhibits appended thereto.
Therefore, pin citations to paragraphs within the complaint
refer to specific parts of the complaint, whereas pin citations
to pages of the same filing refer to the exhibits appended
therein.


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throughout the report were “incomplete and therefore inaccurate”

because those amounts appeared in the report without decimal

points, which could indicate, for any dollar amount, the

corresponding amount of cents, if any. Id. at 16. See, e.g., id.

(“The balance is not $3,858 but rather $3,858.00.”; “The high

balance is not $1,117 from 05/2023 to 06/2023 but rather

$1,117.00.”).

    Fourth, the plaintiff stated that the report did not

contain certain types of information, such as credit account

balances and past due amounts, for each month during which the

account was open. See, e.g., id. at 17 (“The balance is missing

for December 2021.”; “The balance is missing for January 2022.”;

“The balance is missing for February 2022.”; “The past due

amount for the month of December 2021 is missing”; “The past due

amount for the month of January 2022 is missing”; “The past due

amount for the month of [F]ebruary 2022 is missing”); id. at 18

(“The Scheduled payment for the month of December 2021 is not

shown”; “The Scheduled payment for the month of January 2022 is

not shown”).

    Fifth, the plaintiff stated that his report should not show

balances remaining on accounts that had been “charged off” or

otherwise closed, and that any notations to the contrary must be

inaccurate. See, e.g., id. at 19 (asking, in regard to a Bank of

America account, “how can there be a high balance when the


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account is charged off?” and “If the account was closed in 2022;

why is there a high balance stated in November 20223 [sic]?”).

The plaintiff questioned why the report shared information, such

as the applicable credit limit, on closed accounts. See, e.g.,

id. (“if the account was closed in 2022, how can there be a

credit limit of $500?”).

    Sixth, the plaintiff stated that a Bank of America credit

account “was paid in full,” so his report should not display

that it was “charged off”, and asked “Why does it not reflect

that the whole amount was paid”. Id. at 23.

    Exhibit 2 appended to the complaint appears to be a portion

of TransUnion’s investigation results and response to the

plaintiff’s dispute letter. See id. at 32-46. The response is

dated December 23, 2023. See id. at 32. In addition to informing

the plaintiff that the “investigation of the dispute [he]

submitted is now complete”, the correspondence shares the

results of the investigation, the changes made to the

plaintiff’s report as a result of the investigation, and the

steps the plaintiff could take if the “investigation has not

resolved [the] dispute.” Id. at 32, 36-44. With respect to each

account covered by the plaintiff’s dispute letter, TransUnion’s

response states which, if any, information fields were updated

as a result of the investigation. See, e.g., id. at 36 (“We

investigated the information you disputed and updated: Balance;


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Past due; Pay Status; Terms; Remarks; Maximum Delinquency;

Payment Received; Historical Trended Data.”; “We investigated

the information you disputed and updated: Remarks; Rating.”);

id. at 38 (“We investigated the information you disputed and the

disputed information was VERIFIED AS ACCURATE; however, we

updated: Date Updated; Rating; Historical Trended Data.”).

TransUnion’s response also stated that changes were made to the

plaintiff’s listed address and telephone number in “response to

[the plaintiff’s] request”. Id. at 39. With respect to the Bank

of America credit account that the plaintiff claimed “was paid

in full” and therefore should not bear the notation “charged

off”, id. at 23, TransUnion changed the notation on the account

to “Account paid in Full; was Charge-off.” Id. at 36.

    TransUnion did not change the manner in which it displayed

dollar amounts, i.e., without a decimal or a corresponding

amount of cents. See, e.g., id. at 38 (“High Balance: $484”;

Original Charge-off: $268”; “Balance: $150”). TransUnion’s

response includes a glossary of terms such as “Credit Limit”,

“High Balance”, “Maximum Delinquency”, and “Original Charge

Off”. Id. at 33 (defining “High Balance” as the “highest amount

ever owed on an account”, which is unaffected by the current

“Balance”, i.e., the “balance owed as of the date the account

was verified or reported”).

    On January 6, 2025, the plaintiff “pulled another report,


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and the issues raised in [his] original correspondence to

TransUnion from 12/05/2023 were still prevalent in the file more

than a year later.” Id. ¶ 15. See, e.g., id. ¶ 30 (although

an “account was charged off and closed in May of 2022 . . . ., a

past due amount is reported for the period from December 2023

through December 2024.”). In addition, the plaintiff states that

for several of the informational fields in his credit report

“TransUnion has listed dash marks (‘---’)”, instead of a

specific numerical value. Id. ¶¶ 17, 19, 21, 25, 27, 29, 36, 38.

The plaintiff alleges that he has “suffered significant harm” as

“a direct result of TransUnion’s actions,” and the alleged

inaccurate and incomplete information has made “it difficult to

obtain credit, incur debt and acquire property”. Id. ¶ 68.

III. LEGAL STANDARD

    In determining whether an action “fails to state a claim on

which relief may be granted” under 28 U.S.C. §

1915(e)(2)(B)(ii), courts use the standard established for

Federal Rule of Civil Procedure 12(b)(6). See, e.g., Sykes v.

Bank of Am., 723 F.3d 399, 401, 403 (2d Cir. 2013) (using the

Rule 12(b)(6) standard to review a sua sponte dismissal for

failure to state a claim under 28 U.S.C. § 1915(e)(2)(B)).

“Although courts must read pro se complaints with ‘special

solicitude’ and interpret them to raise the ‘strongest arguments

that they suggest,’” pro se litigants must nonetheless “plead


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‘enough facts to state a claim to relief that is plausible on

its face.’” Anthony v. Med. Staff at Inst., 409 F. Supp. 3d 102,

104 (E.D.N.Y. 2016) (quoting Triestman v. Federal Bureau of

Prisons, 470 F.3d 471, 474-76 (2d Cir. 2006); Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 570 (2007)). “A claim has facial

plausibility when the [claimant] pleads factual content that

allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009). But a complaint will be

dismissed when “the allegations in [the] complaint, however

true, could not raise a claim of entitlement to relief.’”

Twombly, 550 U.S. at 558. In determining whether a complaint

should be dismissed for failure to state a claim, “a court may

consider ‘documents attached to the complaint as an exhibit or

incorporated in it by reference, . . . matters of which judicial

notice may be taken, or . . . documents either in plaintiffs’

possession or of which plaintiffs had knowledge and relied on in

bringing suit.’” Chambers v. Time Warner, Inc., 282 F.3d 147,

153 (2d Cir. 2002) (citation omitted).

     In determining whether a claim “is frivolous” under 28

U.S.C. § 1915(e)(2)(B)(i), courts consider whether the claim

“lacks an arguable basis either in law or in fact.” Neitzke v.

Williams, 490 U.S. 319, 325 (1989). The “function” of this

provision, which is separate and distinct from that of 28 U.S.C.


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§ 1915(e)(2)(B)(ii), is to “accord[] judges not only the

authority to dismiss a claim based on an indisputably meritless

legal theory, but also the unusual power to pierce the veil of

the complaint’s factual allegations and dismiss those claims

whose factual contentions are clearly baseless.” Id. at 327.

“Holding a pro se plaintiff to less stringent standards than a

plaintiff represented by counsel, and considering all of the

allegations as truthful, the complaint must be frivolous on its

face or wholly insubstantial to warrant sua sponte dismissal.”

Moorish Sci. Temple of Am., Inc. v. Smith, 693 F.2d 987, 989–90

(2d Cir. 1982) (citations omitted).

IV.   MERITS OF THE COMPLAINT

      For the reasons set forth below, Counts 1, 2, and 3 each

fail to state a claim on which relief can be granted, and the

complaint is being dismissed with leave to amend pursuant to 28

U.S.C. § 1915(e)(2).

      A. Count 1: Claim under 15 U.S.C. § 1681i(a)(5)

      In Count 1, the plaintiff claims that the defendant

violated 15 U.S.C. § 1681i(a)(5) by failing to delete or modify

certain inaccuracies that appeared in the plaintiff’s credit

report and then were identified by the plaintiff in his dispute

letter. See Compl. at ¶¶ 47-51. The plaintiff alleges that

despite TransUnion’s obligation to “delete or modify any

information in [his] consumer report found to be inaccurate,


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incomplete, or unverifiable after conducting a reasonable

investigation”, the information that was disputed by the

plaintiff in his December 2023 letter to TransUnion still

appeared in his report as of January 2025. Id. ¶¶ 49-50.

    “The [FCRA] regulates credit reporting procedures to ensure

the confidentiality, accuracy, relevancy, and proper utilization

of consumers’ information.” Sprague v. Salisbury Bank & Tr. Co.,

969 F.3d 95, 98 (2d Cir. 2020) (citation omitted). Thus, the

focus is on procedures. Contrary to the plaintiff’s contentions,

Section 1681i does not require consumer reporting agencies,

following a reinvestigation, to reach the same conclusions as

the consumer, to incorporate into a consumer report information

the agency has determined to be inaccurate, or to remove from a

consumer report information the agency has confirmed to be

accurate.

    The FCRA contemplates that consumer reporting agencies

will, at times, disagree with consumers regarding disputed

information. Section 1681i provides that when any disputed

information is “reinserted in the file by the consumer reporting

agency” following the reinvestigation’s confirmation of its

accuracy, the consumer reporting agency “shall notify the

consumer of the reinsertion in writing not later than 5 business

days after the reinsertion” and provide “notice that the

consumer has the right to add a statement to the consumer’s file


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disputing the accuracy or completeness of the disputed

information.” 15 U.S.C. §§ 1681i(a)(5)(B)(ii)-(iii). See also 15

U.S.C. § 1681i(a)(3) (“[A] consumer reporting agency may

terminate a reinvestigation of information disputed by a

consumer . . . if the agency reasonably determines that the

dispute by the consumer is frivolous or irrelevant, including by

reason of a failure by a consumer to provide sufficient

information to investigate the disputed information.”); 15

U.S.C. §§ 1681i(a)(6)-(7)(“A consumer reporting agency shall

provide written notice to a consumer of the results of a

reinvestigation . . . not later than 5 business days after the

completion of the reinvestigation”); 15 U.S.C. §§ 1681i(c)

(“Whenever a statement of a dispute is filed, unless there is

reasonable grounds to believe that it is frivolous or

irrelevant, the consumer reporting agency shall, in any

subsequent consumer report containing the information in

question, clearly note that it is disputed by the consumer and

provide either the consumer’s statement or a clear and accurate

codification or summary thereof.”).

    Here, the factual allegations in the complaint, taken as

true and with reasonable inferences drawn in the plaintiff’s

favor, do not suggest that TransUnion failed to comply with the

procedures required by 15 U.S.C. § 1681i. If anything, the

documents attached to the complaint as exhibits suggest that


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TransUnion complied with the procedural requirements under §

1681i. Therefore, the complaint fails to state a claim with

respect to Count 1, and it is being dismissed pursuant to 28

U.S.C. § 1915(e)(2).

    B. Count 2: Claim under 15 U.S.C. § 1681e

    In Count 2, the plaintiff claims that TransUnion violated

15 U.S.C. § 1681e(b) by failing to adopt and implement

reasonable procedures to ensure the maximum possible accuracy of

the information in his credit report. See Compl. ¶¶ 52-59. In

support of this claim, the plaintiff cites to the “numerous

instances of missing or incomplete data, such as balances, past

due amounts, and scheduled payments for multiple months”;

“conflicting information, such as accounts being reported as

both charged off and closed while simultaneously showing

balances and past due amounts for months after the reported

closure date”; and other “discrepancies.” Id. ¶¶ 55-57. The

plaintiff claims that the “presence of these inaccuracies . . .

demonstrates that TransUnion did not follow reasonable

procedures to ensure maximum possible accuracy”. Id. ¶ 58.

    “[T]o prevail on a section 1681e claim against a consumer

reporting agency, it is necessary for a plaintiff to establish,

among other things, that a credit report contains an

inaccuracy.” Mader v. Experian Info. Sols., Inc., 56 F.4th 264,

269 (2d Cir. 2023). “If the information is accurate no further


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inquiry into the reasonableness of the consumer reporting

agency’s procedures is necessary.” Houston v. TRW Info. Servs.,

Inc., 707 F. Supp. 689, 691 (S.D.N.Y. 1989).

    “[A] credit report is inaccurate ‘either when it is

patently incorrect or when it is misleading in such a way and to

such an extent that it can be expected to have an adverse

effect.’” Mader, 56 F.4th at 269 (quoting Shimon v. Equifax

Info. Servs. LLC, 994 F.3d 88, 91 (2d Cir. 2021)). A report

becomes “sufficiently misleading” where “the reported

information is ‘open to an interpretation that is directly

contradictory to the true information.’” Mohnkern v. Equifax

Info. Servs., LLC, No. 19-CV-6446L, 2021 WL 5239902, at *4

(W.D.N.Y. Nov. 10, 2021) (quoting Wenning v. On-Site Manager,

Inc., No. 14-cv-9693 (PAE), 2016 WL 3538379, *9 (S.D.N.Y. June

22, 2016)).

    A plaintiff is required to “identify the specific

information on [her] credit report that is inaccurate and

explain why the identified information is inaccurate.” Lopez v.

Equifax, Inc., No. 24-CV-3681 (LTS), 2024 WL 4108645, at *3

(S.D.N.Y. Aug. 26, 2024) (citation omitted and emphasis added).

See, e.g., Viverette v. Experian, No. 21-CV-6989 (LTS), 2022 WL

357274, at *3 (S.D.N.Y. Feb. 7, 2022) (“‘Absent additional facts

explaining why the disputed information and inquiries are false,

Plaintiff has failed to plead an essential element of a claim


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under Section 1681e(b) . . . .’” (quoting Phipps v. Experian,

No. 20-CV-3368 (LLS), 2020 WL 3268488, at *3 (S.D.N.Y. June 15,

2020)).

    Where courts have determined that consumer reports were, in

fact, inaccurate due to a consumer reporting agency’s failure to

include certain omitted information, plaintiffs have alleged

facts which show that the omission of that particular

information could “‘be expected to have an adverse effect.’”

Mader, 56 F.4th at 269 (quoting Shimon, 994 F.3d at 91). See,

e.g., Watson v. Caruso, 424 F. Supp. 3d 231, 245-46 (D. Conn.

2019) (denying motion for summary judgment where the plaintiff

alleged his credit report listed a “sexual assault” conviction

that had been formally “erased”); Obabueki v. Int’l Bus.

Machines Corp., 145 F. Supp. 2d 371, 374, 399 (S.D.N.Y. 2001)

(denying defendant’s motion for summary judgment where the

plaintiff alleged the defendant failed to include notation on

his report that the “plaintiff’s conviction was ‘vacated’ and

‘dismissed’”); Kilpakis v. JPMorgan Chase Fin. Co., LLC, 229 F.

Supp. 3d 133, 142 (E.D.N.Y. 2017) (“[T]he selective information

provided . . was ‘misleading in such a way and to such an extent

that it can be expected to adversely affect credit decisions.’”

(citation omitted)).

    Here, the factual allegations in the complaint, taken as

true and with reasonable inferences drawn in the plaintiff’s


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favor, do not suggest that “that the challenged report is

inaccurate” and TransUnion failed to comply with 15 U.S.C. §

1681e(b). Sessa v. Trans Union, LLC, 74 F.4th 38, 42 (2d Cir.

2023).

     The plaintiff contends that the credit report was

inaccurate because of the format for three reasons. First, the

plaintiff disputes the omission of several numbers from the

plaintiff’s account information and the use of asterisks in

place of those numbers. See, e.g., Compl. at 16, 19, 25, 29, 31.

Second, the plaintiff disputes the use of dollar amounts without

decimal points plus the corresponding amounts of cents. See,

e.g., id. at 16. Third, the plaintiff disputes the use of dashes

in certain places. See id. ¶ 17, 19, 21, 25, 27, 29, 36. But the

plaintiff alleges no facts which could show that the information

and the manner in which it is conveyed make the report

“‘patently incorrect or . . . misleading in such a way and to

such an extent that it can be expected to have an adverse

effect.’” Mader, 56 F.4th at 269 (quoting Shimon, 994 F.3d at

91). Moreover, with respect to the account information, the

omission was for the purpose of protecting consumers such as the

plaintiff. See, e.g., Compl. (Pl. Ex. 3) at 52 (“For your

protection, your account numbers have been partially masked . .

. ”).

     The plaintiff contends that the credit report is misleading


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because certain information (e.g., credit account balances and

past due amounts for every month listed on the report) is

missing. See Compl. ¶¶ 52-59 (citing “numerous instances of

missing or incomplete data, such as balances, past due amounts,

and scheduled payments for multiple months”). The plaintiff

alleges no facts which could show that the credit report did not

provide accurate overviews of the activity in and status of each

account associated with the plaintiff because it did not provide

month-by-month data on, for instance, the payments made that

month by the plaintiff toward the account balance, much less

that any omitted information could have an adverse effect. See,

e.g., Compl. at 52-53 (Pl. Ex. 3) (listing the date an American

Express account associated with the plaintiff was opened, the

account type, the loan type, the total balance on the account,

the date the information was updated, the pay status, the terms,

the date the account was closed, the history of the credit

limits placed on the account); id. at 61-62 (same for a Bank of

America account associated with the plaintiff); id. at 68-60

(same for another Bank of America account associated with the

plaintiff); id. at 70-72 (same for a Discover Bank account

associated with the plaintiff).

     The plaintiff contends that the “omissions in the file

create a cascading effect, undermining the integrity of the

entire file”. Compl. ¶ 62. The complaint alleges:


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    Each item []-- whether it is the balance, past due amount,
    scheduled payment, or other critical information -- builds
    upon the data from previous months to ensure continuity and
    accuracy. For example, if the balance for January is
    missing or incorrect, the balance for February cannot be
    accurately calculated or reported. Similarly, if the past
    due amount for March is omitted or inaccurate, the past due
    amount for April cannot be properly determined. This
    pattern continues, compounding errors and omissions
    throughout the report.

Id. However, consumer reporting agencies are not responsible for

keeping or reproducing an accounting of the monthly activity in

and status of each account associated with a consumer. Rather,

consumer reporting agencies assemble, verify, and report

information provided by creditors or others. See 15 U.S.C. §

1681a(f) (defining “consumer reporting agency” as “any person

which . . . regularly engages . . . in the practice of

assembling or evaluating consumer credit information or other

information on consumers for the purpose of furnishing consumer

reports to third parties . . . .”).

    The plaintiff contends that his report was inaccurate in

multiple places because it is impossible for there to be

balances, high balances, credit limits, or other account

information associated with accounts that have been “charged

off” or otherwise closed. This argument lacks merit for at least

two reasons.

    First, the closure of an account or line of credit, or its

identification as being “charged off,” does not itself resolve a



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consumer’s debt with respect to that account or eliminate any

applicable balance. See generally In re Anderson, 884 F.3d 382,

385 (2d Cir. 2018) (explaining that a debt is “charged off” when

“the bank changed the outstanding debt from a receivable to a

loss in its own accounting books” notwithstanding the fact “that

the debt remain[s] unpaid”); Ostreicher v. Chase Bank USA, N.A.,

No. 19-CV-8175 (CS), 2020 WL 6809059 (S.D.N.Y. Nov. 19, 2020)

(“[A] creditor charging off or writing off a debt is simply an

internal accounting action by which the creditor stops carrying

the debt as a receivable because the chances of collecting it

are so low.”).

    Second, consumer reporting agencies may lawfully report

accurate information regarding closed accounts, discontinued

lines of credit, or debts marked as charged off. See, e.g.,

Ciment v. TransUnion, LLC, No. 24-cv-212(CS), 2025 WL 307871, at

*6 (S.D.N.Y. Jan. 27, 2025)(“FCRA allows charged-off accounts to

be reported for seven years . . . .” (quoting Shelton v.

AmeriCredit Fin. Servs., Inc., No. 23-10543, 2023 WL 2761702, at

*3 (E.D. Mich. Apr. 3, 2023))); Boyer v. TransUnion, LLC, No.

3:21-CV-00918 (KAD), 2023 WL 1434005, at *6 (D. Conn. Feb. 1,

2023) (“Plaintiff does not attempt to distinguish the instant

case from the numerous others in which courts have determined

that reporting historical account data on closed accounts is

neither inaccurate nor misleading.”); Artemov v. TransUnion,


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LLC, No. 20-CV-1892 (BMC), 2020 WL 5211068, at *4-5 (E.D.N.Y.

Sept. 1, 2020) (“[I]t should be obvious that, even though the

banks labeled plaintiff’s accounts as charged off, they had no

obligation to zero out the overall or past due balance. . . . At

any moment, BOA could decide to collect the charged off debt and

seek the delinquent amount.”); Ostreicher, 2020 WL 6809059, at

*5 (“Chase here reported exactly what it should have: that

Plaintiff had failed to pay on four accounts (which a potential

future creditor would want to know) but had no monthly

obligation on those accounts because Chase had written the

accounts off (which Plaintiff would want the potential creditor

to know).”).

    Therefore, the complaint fails to state a claim that

TransUnion violated 15 U.S.C. § 1681e(b) by failing to adopt and

implement reasonable procedures to ensure the maximum possible

accuracy of the information in his report, and it is being

dismissed pursuant to 28 U.S.C. § 1915(e)(2).

    C. Count 3: Claim under 15 U.S.C. § 1681n

    In Count 3, the plaintiff claims that TransUnion violated

15 U.S.C. § 1681n by willfully violating the standards set forth

in the FCRA. See Compl. ¶¶ 60-67. Section 1681n provides that

“[a]ny person who willfully fails to comply with any requirement

imposed under this subchapter with respect to any consumer is

liable to that consumer . . . .” 15 U.S.C. § 1681n(a). Thus, a


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plaintiff cannot state a claim under Section 1681n unless that

plaintiff has shown that the defendant has violated some other

provision of the FCRA. The complaint fails to do so. Therefore,

the complaint also fails to state a claim with respect to Count

3, and it is being dismissed pursuant to 28 U.S.C. § 1915(e)(2).

V.   CONCLUSION

     For the reasons set forth above, the Motion for Leave to

Proceed in Forma Pauperis (ECF No. 2) is hereby GRANTED, and the

claims in the plaintiff’s Complaint (ECF No. 1) are hereby

DISMISSED pursuant to 28 U.S.C. § 1915(e)(2)(B), with leave to

amend. Any amended complaint must be filed within 30 days of the

date of this order.

     It is so ordered.

     Dated this 14th day of April 2025, at Hartford,

Connecticut.

                                             /s/ AWT
                                         Alvin W. Thompson
                                  United States District Judge




                              -21-
